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UNITED STATES DISTRICT CO'URT FILED-
NORTHERN DISTRICT 0F TEXAS d
DALLAS DIVIsloN FEB l 2 Zuu;~)
0RIX CAPITAL MARKETS, LLC, § cwax,v.s.msmc'rcom
ny
Pltlinliff., § eputy
§
v. § C.A. No. 3-06-CV-0271B
SUPER FUTURE EQUITIES, INC., §
et al., §
§
Defendants. §

AGREED ORI)ER OF DISMISSAL WITH PREJUDICE

Upon agreement of the parties to entry of this Order, the Court hereby Orders that this
action_; all of Plaintiff OR]:X Capital Markets LLC’s claims in this action_; and all of
Del`endants Super Future Equities, lnc., Schumann Rat`lzadeh, l~':lc)uman Thomas Ar_jmandi
(“Thornas Arjmandi”), Keon Michael Arjrnandi (“Keon Arjmandi”), and Cyrus Rafizadeh’s
claims in this action are DISMlSSED WITH PREJ`UDICE. lt is further ORDERED that

each party shall bear its own attorneys’ fees and costs

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SleNEjDrhis /3 day of F£j ,2009.

 

 

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W@W l§isMCourt Judge Jane J. Boyle

AGREED ORI)ER OF DISM.ISSAL VVI'TH PREJUDICE vl:"age 1 of 3

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AGREED AND APPROVED:

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DATE: Feb,rualy 6, 2009

AGREED O`RDER ()F DISMISSAL Wl'l`H PREJUDICE Page 2 0f3

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DATE: February 6, 2009

AGREE`D ORDER OF DISMISSAL WITH PREJUDICE Page 3 of 3

